

People v McCreary (2025 NY Slip Op 01897)





People v McCreary


2025 NY Slip Op 01897


Decided on April 01, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 01, 2025

Before: Manzanet-Daniels, J.P., González, Shulman, Rodriguez, Pitt-Burke, JJ. 


Ind. No. 1866/21|Appeal No. 4011|Case No. 2022-02006|

[*1]The People of the State of New York, Respondent,
vDaniel McCreary, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (B. Anthony Bauth of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Addison Eisley of counsel), for respondent.



Judgment, Supreme Court, New York County (Thomas Farber, J.), rendered April 21, 2022, convicting defendant, upon his plea of guilty, of attempted criminal possession of a weapon in the second degree, and sentencing him to a term of two years, unanimously affirmed.
Defendant validly waived his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US — , 140 S Ct 2634 [2020]) in a colloquy that went beyond what is required to ensure a voluntary, knowing, and intelligent waiver. Thus, defendant's challenges to the suppression ruling are foreclosed. 	
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 1, 2025








